Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 1 of 16

Filed for Record

9/19/2049 3:47 PM

Rhonda Barchak, District Clerk
Brazoria County, Texas
104794-CV

Cathy Richard, Deputy

104794-CV
CAUSE NO.

ADELITA DELEON § IN THE DISTRICT COURT OF

Plaintiff, §

§
VS. § BRAZORIA COUNTY, TEXAS

§

WAL-MART STORES TEXAS, LLC., §
Defendant. § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, ADELITA DELEON (“DELEON”), Plaintiff, and complains of WAL-
MART STORES TEXAS, LLC. (“Walmart”), Defendant, and for cause would respectfully

show unto this Court as follows:

I.
Discovery Control Plan

1. Discovery is intended to be conducted under Level 2 of Rule 190 of the
Texas Rules of Civi} Procedure.

IL.
The Parties

Z: Plaintiff, ADELITA DELEON, is a natural person residing in Brazoria County,
Texas,

3: Defendant, WAL-MART STORES TEXAS, LLC. (“Walmart”), is a foreign
corporation organized and existing under the laws of the State of Delaware, whose
principal office is located at 702 SW 8" Street #0555- Tax Dept., Bentonville, State of
Arkansas, is authorized to do business in Texas and may be served with process by

serving its registered agent for service of process through CT Corporation System at 1999

me

Bryan Street, #900, Dallas, Texas 75201.

   

   

‘Blumberg No. 5119

 
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD_ Page 2 of 16

Ul.
Request Pursuant to Rule 28 for Substitution of True Name

4. To the extent that WAL-MART STORES TEXAS, LLC. is conducting

business pursuant to a trade name or assumed name, then suit is brought against WAL-

MART STORES TEXAS, LLC. pursuant to the terms of Rule 28 of the Texas Rules of Civil -

Procedure, and ADELITA DELEON hereby demands upon answer to this suit, that WAL-
MART STORES TEXAS, LLC. answer in its correct legal and assumed names.

IV.
Jurisdiction and Venue

5. This Court has jurisdiction over the parties and subject matter of this cause,
and has jurisdiction to grant all relief requested by Plaintiff.

6. The amount in controversy is within the jurisdictional limits of this Court.

7. Venue of this action is proper in Brazoria County, Texas under, inter alia,
Sections 15.002(a)(1) and (4) of the TEXAS Civil PRACTICE AND REMEDIES CODE.
Specifically, this suit is proper in Brazoria County because all or a substantial part of the
events or omissions giving rise to the claims occurred in Brazoria County.

Vv.
Nature of the Case

8. On February 2, 2018, Plaintiff was shopping at Walmart Supercenter store
#808 located at 121 Highway 332 W, Lake Jackson, TX 77566. As Plaintiff was walking
through the store, Plaintiff slipped/tripped and fell in plastic left standing on the floor,
landed forcefully on the ground and sustained severe and extensive injuries to her body

(the “Fall”).

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Vi.
Causes of Action

A. Waimart’s Premises Liability

9. DELEON incorporates by reference the statements made in the above
paragraphs as if fully set out herein.

10. There can be no question that DELEON is an innocent victim in this case.
At the time of the Fall, DELEON was an invitee of Walmart because she was a customer
at Walmart store #808, Because store #808 was open to the public, Walmart extended
an invitation to DELEON to shop at Walmart for the mutual benefit of both parties.
Consequently, Walmart, by and through its employee/agents owed DELEON the duty to
inspect the premises and maintain them in a reasonably safe manner.

41. Walmart was the owner and/or operator of store #808 at the time of the Fall
and, therefore, either owned, occupied, or controlled the premises where the Fall and
subsequent injury occurred. ‘Such negligence was the proximate cause of DELEON's
damages.

12. The plastic left on the premises of Walmart store #808 posed an
unreasonable risk of harm because individuals walking through the store may slip/trip and
fall through no fault of their own and severely injure themselves.

13. | Walmart, by and through its employee/agents knew or should have known
of the dangerous condition of the premises of Walmart store #808 for numerous reasons
including, but not limited to:

a. Customers notified Walmart of the dangerous condition

at store #808 or other Walmart stores of similar design
and construction around the country;

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Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 4 of 16

b. Walmart agents, servants, or employees actually
witnessed accidents caused by the dangerous condition
at store #808 or other Walmart stores of similar design
and construction around the country;

c. Walmart agents, servants, or employees actually
caused the dangerous condition at store #808 or other
Walmart stores of similar design and construction
around the country;

d. Walmart agents, servants, or employees were involved
in the design and construction of the dangerous
condition at store #808 or other Walmart stores of
similar design and construction around the country;

e. Walmart agents, servants, or employees actually took
precautionary measures regarding the dangerous
condition at store #808 or other Walmart stores of
similar design and construction around the country;

f. Walmart agents, servants, or employees actually took
precautionary measures regarding the dangerous
condition at store #808 or other Walmart stores of
similar design and construction around the country and
negligently failed to remove, repair, or otherwise warn
of the dangerous condition; and

g. The dangerous condition existed long enough at store
#808 or other Walmart stores of similar design and
construction around the country that Walmart did or
should have discovered it upon reasonable inspection.-

14. | Walmart breached its duty of care by both failing to make the dangerous
condition reasonably safe and/or failing to adequately warn DELEON of the dangerous
condition at store #808. Each of these acts or omissions, taken alone or collectively,
amount to premises liability by Walmart and DELEON sustained damages, as a proximate
result of Walmart's conduct. Accordingly, Walmart is liable to DELEON as a result of its

premises liability.
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B. Walmart’s Negligence

15. DELEON incorporates by reference the statements made in the above
paragraphs as if fully set out herein.

16. At the time of the Fall, DELEON was an invitee at Walmart and, as such,
Walmart had a duty to use ordinary care in maintaining the premises in a safe condition
by inspecting, or ensuring the inspection of, the property for any dangerous conditions and
by making safe any latent defect or providing an adequate warning of any such defect.

17. | Walmart, by and through its employee/agents breached its duty of care by
failing to reasonably inspect, or ensure the reasonable inspection of, the property for any
dangerous conditions and by failing to make the dangerous condition reasonably safe
and/or failing to adequately warn DELEON of the dangerous condition at store #808. Each
of these acts or omissions, taken alone or collectively, amount to negligence by Walmart
and DELEON sustained damages as a proximate result of Walmart’s conduct.
Accordingly, Walmart is liable to DELEON as a result of its negligence.

Cc. Walmart’s Malicious & Grossly Negligent Conduct

18. DELEON incorporates by reference the statements made in the above
paragraphs as if fully set out herein.

19. Walmart acted with malice, as that term is defined by Civil Practice &
Remedies Code §41.001(7). Specifically, Walmart, by and through its employee/agents

failed to reasonably inspect, or ensure that others reasonably inspected, the premises of

Store #808 to determine if the premises were safe and acted with total disregard for the

circumstances existing at the time. In the alternative, Walmart, by and through its

employee/agents failed to make the dangerous condition on its premises reasonably safe

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and/or failed to adequately warn its invitees of same and acted with total disregard for the
circumstances existing at the time.

20. When viewed from the perspective of Walmart at the time of the acts or
omissions, the acts or omissions of Walmart involved an extreme degree of risk,
considering the probability and magnitude of the potential harm to others. Moreover,
Walmart had actual subjective awareness of the risks involved, but nevertheless
proceeded with conscious indifference to the rights, safety, or welfare of others.
Consequently, Walmart is liable to DELEON for exemplary damages.

Vil.
Damages

A. Generai Damages of ADELITA DELEON

21. At the time of the accident made the basis of this suit, Plaintiff, ADELITA
DELEON, was 63 years of age and had a life expectancy of 23.5 years, and a work-life
expectancy of atleast 4.6 years according to Vital Statistics of the United States, 2014, Life
Tables.

22. As a direct and proximate result of Defendant’s negligence, Plaintiff,

ADELITADELEON, has sustained mental and physical pain and suffering, mental anguish,

physical impairment, lost wages in the past, and loss of earning capacity in the future, all

of which are in reasonable probability permanent.

23. From the date of the accident in question until the time of trial of this case,
the elements of damages to be considered separately and individually for the purpose of
determining the sum of money that will fairly and reasonably compensate Plaintiff,
ADELITA DELEON, for each element are as follows:

a. The physical pain that ADELITA DELEON has
suffered from the date of the accident in

question up to the time of trial.
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Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 7 of 16

b. The mental anguish that ADELITA DELEON has
suffered from the date of the accident in
question up to the time of trial.

C. The damages resulting from the physical
impairment suffered by ADELITA DELEON and
the resulting inability to do those tasks and
services that he ordinarily would have been able
to perform.

d. The loss of any earnings sustained by ADELITA
DELEON from the date of the incident in
question up to the time of trial.

é. The disfigurement which Plaintiff has suffered
from the date of the incident in question up to the
time of trial.

24. From the time of trial of this case, the elements of damages to be considered
which Plaintiff, ADELITA DELEON, will sustain in the future beyond the trial, are such of
the following elements that are shown by a preponderance of the evidence upon trial of this

case:
a. The physical pain that ADELITA DELEON will
suffer in the future beyond the time of trial.

b. The mental anguish that ADELITA DELEON will
suffer in the future beyond the time of trial.

c. The damages resulting from the physical
impairment that ADELITA DELEON wiil continue
to suffer in the future and the resulting inability to
do those tasks and services that he ordinarily
would have been able to perform in the future
beyond the time of trial.

d. The loss or reduction in Plaintiff's earnings or
eaming capacity in the future caused by the
injuries sustained in the incident in question.

e. The disfigurement which Piaintiff will suffer in the
future beyond the time of trial.

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25. Because of all of the above and foregoing, Plaintiff, ADELITA DELEON, has
been damaged and will be damaged in an amount within the jurisdictional limits of the
Court.

B. Medical Damages of ADELITA DELEON

26. Further, as a direct and proximate result of Defendant’s negligence, it was
necessary for your Plaintiff, ADELITA DELEON, to secure medical and hospital services,
including drugs and other medication, and it is reasonably probable that he will require
additional medical, hospital and drug services in the future beyond this date. Plaintiff,
ADELITA DELEON, here now sues for an additional sum within the jurisdictional limits of
the Court for past and future medical, hospital and drug services.

c. Gross Negligence/Malice

27. The actions of the Defendant was so heedless and showed such a reckless
disregard for the right of others affected by them, and particularly in this instance, as to
constitute gross negligence and malice as defined by law. Such heedless and reckless
disregard is more than momentary thoughtlessness, inadvertence or error in judgment.
The acts and/or omissions of said Defendant as specifically complained of herein were the
result of conscious indifference to the rights, welfare, and/or safety to your Plaintiff.
Accordingly, because of such gross negligence and malice, Plaintiff further sues for
exemplary and punitive damages in an amount within the jurisdictional limits of the Court.

Dd. Prejudgment Interest

28. _Inaddition to the above and foregoing allegations, Plaintiff further pleads that

he is entitled to prejudgment interest at the highest rate allowed by law.
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Vill.
Conditions Precedent

29. All conditions precedent have occurred, have been performed, have been
waived or have otherwise been excused.

IX.
Miscellaneous

30. DELEON respectfully reserves the right to amend and plead further as
necessary and as additional facts are uncovered.

X.
T.R.C.P. 47(c)

31. Pursuant to T.R.C.P. 47(c}, Plaintiff herenow seeks monetary relief over
$200,000.00 but not more than $1,000,000.00.
XI.
Request for Disclosure
32. Under Texas Rule of Civil Procedure 194, Plaintiff ADELITA DELEON
requests that Defendants disclose, within 50 days of the service of this request, the

information or material described in Rule 194.2(a) through (I).

XII.
RULE 193.7 NOTICE

33. Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiff hereby gives
actual notice to Defendant that any and all documents produced may be used against
Defendant at any pretrial proceeding and/or at the trial of this matter without the

necessity of authenticating the documents.
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XII.
Prayer

WHEREFORE PREMISES CONSIDERED, ADELITA DELEON asks that

Defendants be cited to appear and answer, and on final trial, that Defendant be held tiable

and judgment be rendered for Plaintiff, ADELITA DELEON as follows:

(a)
(b)
(c)
(d)
(e)
(f)

All actual, consequential, and special damages;
Pre-judgment interest as provided by law;
Punitive damages as provided by law;
Post-judgment interest;

Costs of Court; and,

Such other and further relief, both general and special, legal and
equitable, to which ADELITA DELEON may show herself justly
entitled.

Respectfully submitted,
THE TODD LAW GROUP, PLLC

By:_/s!_ Geflrey MN. Fada

Jeffrey N. Todd

State Bar No. 24028048
12929 Gulf Freeway, Suite 301
Houston, Texas 77034
Telephone: (832} 243-4953
Telecopier: (713) 583-7818
jeff@jefftoddiaw.com

ATTORNEYS FOR PLAINTIFF

-10-
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 11 of 16

 

CT Corporation Service of Process
Transmittal
09/24/2019
CT Log Number 536307870
TO: — KIMLUNDY SERVICE OF PROCESS
WALMART INC,
702 SW 8TH ST, MAILSTOP 0215
BENTONVILLE, AR 72716-6299

RE: Process Served In Texas

FOR: Wal-Mart Stcres Texas, LLC (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

BOCUMENT(S} SERVED:

COURTIAGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(3) / SENDER(3):

ACTION ITEMS:

For Questions;

Deleon Adelita, Pltf. vs. Wal-Mart Stores Texas, LLC., Dft.
Name discrepancy noted.

Citation(s), Return(s), Petition

239th Judicial District Court Brazoria County, TX
Case # 104794CV

Personal Injury - Failure to Maintain Premises in a Safe Condition - 02/02/2018 -
Store #808 - 121 Highway 332 W, Lake Jackson, TX 77566

C T Corporation System, Dallas, TX

By Process Server on 09/24/2019 at 14:40

Texas

By 10:00 a.m. on the Monday next following the expfration of 20 days

Jeffrey N. Todd

The Todd Law Group, PLLC
12929 Gulf Freeway, Suite 301
Houston, TX 77034
832-243-4953

CT has retained the current log, Retain Date: 09/24/2019, Expected Purge Date:
09/29/2019

Image SOP
Email Notification, KIM LUNDY SERVICE OF PROCESS ctlawsuits@walmartlegal.com

C T Corporation System
1999 Bryan St Ste 900
Dallas, TX 75201-3140

877-564-7529
MajorAccountTeam2@wolterskluwer.com

Page 1 of 1 / DP

{nfermation displayed on this transmittal Is for CT
Corporation's record keeping purposes only and {s provided to
the recipient for quick reference, This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any Information
contained in the documents themseives, Reciplent is
responsible for interpreting sald documents and for taking
appropriate action. Signatures on certified mail recetpts
confinn recetpt of package only, not contents,
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 12 of 16

Service LD. No, 161246

$ CAUSE NO. 104794-CV
239th District Court

THE STATE OF TEXAS CITATION

TO: Wal-Mart Stores Texas, LLC Defendant
By serving its Registered Agent
CT Corporation System
1999 Bryan Street, #900
Dallas, Texas 75201

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney does not file a written answer
with the Clerk who issued this Citation by 10:00 a.m. on the Monday next following the expiration of 20 days
after you were served this Citation and Plaintiff's Original Petition a Default Judgment may be taken against
you. If filing Pro se, said answer may be filed by mailing same to: Brazoria County District Clerk’s office, 111]
E. Locust, Suite 500, Angleton, TX 77515-4678 or by bringing said answer in person to the aforementioned
address.

The case is presently pending before the 239th District Court of Brazoria County sitting in Angleton,
Texas, and was filed on the 19th day of September, 2019. It bears Cause No. 104794-CV and Styled:

Adelita DeLeon
vs.
Wal-Mart Stores Texas, LLC

The name and address of the Attorney filing this action (or Party, if Pro Se) is Jeffrey N. Todd, The
Todd Law Group, PLLC, 12929 Gulf Freeway, Suite 301, Houston, TX 77034.

The nature of the demands of said Plaintiff is shown by a true and correct copy of Plaintiff's Petition
accompanying this Citation.

Issued under my hand and the seal of said Court, at Angleton, Texas, on the 20th day of September,
2019.

RHONDA BARCHAK, DISTRICT CLERK
Brazoria County, Texas

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county.com. oaUS
By ste: 20190929 DRL C5 ; Deputy

Sunnye Wingo

 

 

Service Copy

Citotion by Registered Agent
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 13 of 16

Service [.D, No. 161246

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The nature of the demands of said Plaintiff is shown by a true and correct copy of Plaintiffs Petition
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Issued under my hand and the seal of said Court, at Angleton, Texas, on the 20th day of September,
2019.

RHONDA BARCHAK, DISTRICT CLERK
Brazoria County, Texas

Dightatty dgned by Sunmye Wings:
ON craSuamnye Wingo, onBransita
‘ County, ousDtsctct Clerk,
Se UA) crateunnyeebeatoca COREY LO,
By

 

Dare: 201909.20 11,0008 1507 , Deputy

Sunnye Wingo

‘Original

Citation by Registered Agent
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 14 of 16
Service LD. No. 161246

RETURN OF SERVICE
CAUSE NO. 104794-CV 239th District Court

ADELITA DELEON
VS.
WAL-MART STORES TEXAS, LLC

Wal-Mart Stores Texas, LLC

By serving its Registered Agent
CT Corporation System

1999 Bryan Street, #900
Dallas, Texas 75201

Came to hand on the day of ,20___ at , o'clock _—.m., and executed in

County, Texas by delivering to each of the within named parties in person, a true copy of this CITATION
with the date of delivery endorsed thereon, together with the accompanying copy of the Plaintiff's Original Petition at the following
times and places, to-wit:

NAME DATE TIME PLACE, COURSE, AND DISTANCE FROM COURTHOUSE MILEAGE

 

 

 

 

and not executed as to (NAME)

and the cause or failure to execute this process is for the following reason:

 

 

The diligence used in finding said (NAME) being:

 

 

 

 

FEES:

Serving Citation and Copy $ , Officer
Mileage: miles @$ per mile $ County, Texas
Total $

 

 

Deputy/Authorized Person
COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.

In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the retum. The
return must either be verified or be signed under penalty of perjury. A retum signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is , and my
(First, Middle, Last) .

address is
(Street, City, State, Zip Code, Country)

1 DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in County, State of , on the day of , 20

 

DeclaranVAuthorized Process Server

 

(Id No. and expiration of certification)

Citation by Registered Agent
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 15 of 16

Service LD. No. 161246

CAUSE NO. 104794-CV
239th District Court

THE STATE OF TEXAS CITATION

TO: Wal-Mart Stores Texas, LLC Defendant
By serving its Registered Agent
CT Corporation System
1999 Bryan Street, #900
Dallas, Texas 75201

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after you were served this Citation and Plaintiffs Original Petition a Default Judgment may be taken against
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2019.

RHONDA BARCHAK, DISTRICT CLERK
Brazoria County, Texas

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By . ‘Oate: 2019.09.20 11:0022 0507 ; Deputy

Sunnye Wingo

 

 

Service Gopy

Citation by Registered Agent

 
Case 3:19-cv-00350 Document 1-2 Filed on 10/24/19 in TXSD Page 16 of 16
Service LD. No. 161246
RETURN OF SERVICE
CAUSE NO. 104794-CV 239th District Court

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WAL-MART STORES TEXAS, LLC

Wal-Mart Stores Texas, LLC
By serving its Registered Agent
CT Corporation System

1999 Bryan Street, #900
Dallas, Texas 75201

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County, Texas by delivering to each of the within named parties in person, a tue copy of this CITATION
with the date of delivery endorsed thereon, together with the accompanying copy of the Plaintiff's Original Petition at the following
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NAME DATE TIME PLACE, COURSE, AND DISTANCE FROM COURTHOUSE MILEAGE

 

 

 

 

and not executed as to (NAME)

and the cause or failure to execute this process is for the following reason:

 

 

The diligence used in finding said (NAME) being:

 

 

 

 

 

 

FEES:

Serving Citation and Copy $ , Officer
Milenge: miles @ $ per mile $ County, Texas
Total $

 

 

Deputy/Authorized Person

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.

In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
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“My name is , my date of birth is , and my
(First, Middle, Last)

address is
(Street, City, State, Zip Code, Country)

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in County, State of , on the day of ,20__

 

Declarant/Authorized Process Server

 

{Id No. and expiration of certification)

Citation by Registered Agent

 
